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8                                UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
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11    ROBERT A. COTTON,                      )     NO. EDCV 18-2343-VAP (AGR)
                                             )
12                                           )
                           Plaintiff,        )
13                                           )     ORDER ACCEPTING FINDINGS AND
          v.                                 )     RECOMMENDATION OF UNITED
14                                           )     STATES MAGISTRATE JUDGE
      COUNTY OF SAN BERNARDINO,              )
15    et al.,                                )
                                             )
16                         Defendants.       )
                                             )
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               Pursuant to 28 U.S.C. § 636, the Court has reviewed the complaint, records on
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      file, and the Report and Recommendation of the United States Magistrate Judge
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      (“Report”). No objections to the Report have been filed. The Court accepts the
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      findings and recommendation of the Report.
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               IT IS ORDERED as follows:
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               (1) The County Defendants’ motion to dismiss (Dkt. No. 38) is GRANTED as
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      follows: (a) Claims One through Five, Seven, Thirteen and Fifteen are dismissed
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      with leave to amend; and (b) Claims Twelve and Fourteen are dismissed without
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      leave to amend;
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               (2) The City Defendants’ motion to dismiss (Dkt. No. 41) is GRANTED IN
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      PART AND DENIED IN PART as follows: (a) all federal and state claims against
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      Defendants Woolbright and Gomez are dismissed without leave to amend; (b) the
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1     motion to dismiss Claim One is denied to the extent it asserts a Fourth Amendment
2     claim against Defendants Arnola, Echevarra, Guzman and Thomas based on
3     Plaintiff’s arrest; (c) the remainder of Claim One is dismissed with leave to amend; (d)
4     Claims Two through Five, Seven and Fifteen are dismissed with leave to amend; and
5     (e) Claims Eight through Fourteen are dismissed without leave to amend;
6           (3) Defendant Shiomoto’s motion to dismiss (Dkt. No. 43) is GRANTED and all
7     federal and state claims against her are dismissed without leave to amend;
8           (4) Defendants Barba and Pellis are dismissed with prejudice from this action
9     (Order dated April 9, 2019, Dkt. No. 8); and
10          (5) Plaintiff is granted leave to file a Third Amended Complaint consistent with
11    the Report within 30 days after entry of this Order.
12          If Plaintiff chooses to file a Third Amended Complaint, it must be filed within 30
13    days after entry of this Order, it must bear the docket number assigned to this case,
14    be labeled “Third Amended Complaint,” and be complete in and of itself without
15    reference to the original complaint, attachment, pleading or other documents.
16          The Clerk is DIRECTED to provide Plaintiff with a blank pro se civil rights
17    complaint form.
18          Plaintiff is advised that if he fails to file a timely and corrected Third
19    Amended Complaint within 30 days after the entry of this order, this action may
20    be dismissed as set forth above.
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23    DATED: October 2, 2020
                                                   VIRGINIA A. PHILLIPS
24                                                United States District Judge
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